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                                IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


 In re:                                                                    Chapter 11

 AMYRIS, INC., et al.,                                                     Case No. 23-11131 (TMH)

                                       Debtors. 1                          (Jointly Administered)


                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                HEARING ON OCTOBER 4, 2023 AT 10:00 A.M. (EASTERN TIME2)


      This hearing will be conducted in-person before the Honorable Thomas M. Horan, in the
     United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor,
        Courtroom #4. All parties, including witnesses, are expected to attend in person unless
     permitted to appear via Zoom. Participation at the in-person court proceeding using Zoom
     is allowed only in the following circumstances: (i) a party whOo files a responsive pleading
     intends to make only a limited argument; (ii) a party who has not submitted a pleading but
           is interested in observing the hearing; or (iii) other extenuating circumstances as
                                      determined by Judge Horan.
     All participants over Zoom must register in advance. Please register by October 3, 2023, at
                                   4:00 p.m. (EST). at the link below.
      https://debuscourts.zoomgov.com/meeting/register/vJIsduqtrzksG21wmcSoprQgg7rQJxNRYn0


I.      CONTESTED MATTERS GOING FORWARD

        1. Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain
           Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
           Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed 08/09/2023, Docket
           No. 19].

            Response Deadline: August 31, 2023. The deadline to respond was extended for the
            Committee to September 7, 2023.




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        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
        Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
        principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
        Suite 100, Emeryville, CA 94608.
 2      All motions and other pleadings referenced herein are available online at the following web address:
        https://cases.stretto.com/Amyris.
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          Responses Received:

          a.          Informal response received from the Committee as incorporated into the form of
                      the Proposed Final Order.

          b.          [REDACTED] Limited Objection of Lavvan, Inc. to Motion of the Debtors for
                      Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
                      Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                      Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                      a Final Hearing, and (V) Granting Related Relief [Filed August 31, 2023, Docket
                      No. 172].

          c.          Supplemental Objection of Lavvan, Inc. to Motion of the Debtors for Interim and
                      Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B)
                      to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                      Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
                      Hearing, and (V) Granting Related Relief [Filed September 8, 2023, Docket No.
                      211].

          d.          Statement of the Official Committee of Unsecured Creditors Regarding the
                      Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
                      Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
                      Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic
                      Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed
                      September 13, 2023, Docket No. 267].

          e.          Preliminary Statement of Ad Hoc Cross-Holder Group to Debtors' Motion for
                      Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
                      Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                      Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                      a Final Hearing, and (V) Granting Related Relief [Filed September 13, 2023,
                      Docket No. 269]

          Related Documents:

               A.     Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
                      Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
                      Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
                      Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
                      Granting Related Relief [Filed August 10, 2023, Docket No. 40].

               B.     Interim Order (I) Authorizing the Debtors (A) to Obtain Postpetition Financing
                      and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                      Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                      a Final Hearing, and (V) Granting Related Relief [Filed August 11, 2023, Docket
                      No. 54].



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            C.        Debtors' Motion for Entry of an Order Authorizing Debtors to File Under Seal
                      Certain Information Related to Reply of the Debtors in Support of Final Order (I)
                      Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
                      Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
                      Modifying the Automatic Stay, and (IV) Granting Related Relief [Filed
                      September 11, 2023, Docket No. 237].

            D.        Amended Declaration of Steven Fleming in Support of Reply of the Debtors in
                      Support of Final Order (I) Authorizing Debtors (A) to Obtain Postpetition
                      Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                      Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                      a Final Hearing, and (V) Granting Related Relief [Filed September 14, 2023,
                      Docket No. 273].

            E.        Second Interim Order (I) Authorizing the Debtors (A) to Obtain Postpetition
                      Financing and (B) Utilize Cash Collateral, (II) Granting Adequate Protection to
                      Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                      a Final Hearing, and (V) Granting Related Relief Filed September 19, 2023,
                      Docket No. 322].

            F.        Notice of Amendment No. 2 to the Senior Secured Super Priority Debtor in
                      Possession Loan Agreement [Filed September 28, 2023, Docket No. 398].

          Replies:

            A. Reply Of Euagore, LLC And The Foris Prepetition Secured Lenders To Objection
               Of Lavvan, Inc., And Joinder To Reply Of The Debtors In Support Of Final Order
               (I) Authorizing Debtors To (A) Obtain Postpetition Financing And (B) To Utilize
               Cash Collateral, (II) Granting Adequate Protection To Prepetition Secured Parties,
               (III) Modifying The Automatic Stay, And (IV) Granting Related Relief [Filed
               September 11, 2023, Docket No. 235].

            B.        [SEALED] Reply of the Debtors in Support of Final Order (I) Authorizing
                      Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral,
                      (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying
                      the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
                      Relief [Filed September 11, 2023, Docket No. 236].

            C.        [REDACTED] Reply of the Debtors in Support of Final Order (I) Authorizing
                      Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral,
                      (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying
                      the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
                      Relief [Filed September 11, 2023, Docket No. 238].

          Witness and Exhibit List:

            A.        Debtors’ Witness and Exhibit List for hearing on September 14, 2023 at 2:00 p.m.
                      (ET) [Filed September 12, 2023, Docket No. 245].

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            B.        The Foris Lenders' Witness and Exhibit List for Hearing Scheduled for September
                      14, 2023 at 2:00 p.m. (ET) [Filed September 12, 2023, Docket No. 248].

            C.        Lavvan, Inc.'s Witness and Exhibit List for Hearing Scheduled for September 14,
                      2023 at 2:00 p.m. (ET) [Filed September 14, 2023, Docket No. 272].

Supplemental Opening Briefs:

            A.        Brief (Opening Brief of Lavvan, Inc. in Opposition to Motion of the Debtors for
                      Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
                      Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                      Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                      a Final Hearing, and (V) Granting Related Relief Relief [Filed September 29,
                      2023, Docket No. 402].

            B.        Supplemental Brief of Euagore, LLC and the Foris Prepetition Secured Lenders
                      with respect to Continued Hearing on the Motion of the Debtors for Interim and
                      Final Orders (I) Authorizing Debtors to (A) Obtain Postpetition Financing and (B)
                      to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                      Secured Parties, (III) Modifying the Automatic Stay, and (IV) Granting Related
                      Relief [Filed September 29, 2023, Docket No. 403].

            C.        Supplemental Brief of the Debtors in Support of Entry of Final Order (I)
                      Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
                      Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
                      Modifying the Automatic Stay and (IV) Granting Related Relief [Filed September
                      29, 2023, Docket No. 404].

Supplemental Responsive Briefs: (Due: October 3, 2023 at 12:00 Noon E.T.)
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      Witness and Exhibit List:


            A.        Debtors’ Witness and Exhibit List for hearing on October 14, 2023 at 10:00 a.m.
                      (ET) [Filed October 2, 2023, Docket No.408].

            B.        The Foris Lenders' Witness and Exhibit List for Hearing Scheduled for hearing on
                      October 14, 2023 at 10:00 a.m. (ET) [Filed October 2, 2023, Docket No. 407].

            C.        Lavvan, Inc.'s Witness and Exhibit List for Hearing Scheduled for hearing on
                      October 14, 2023 at 10:00 a.m. (ET) [Filed October 2, 2023, Docket No. TBD].

          Status: The matter is going forward.




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Dated: October 2, 2023                     PACHULSKI STANG ZIEHL & JONES LLP

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